 

Case 1:04-cv-01289-.]DT-STA Document 9 Filed 05/23/05 Page 1 of 10 Page|D 3§
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FoR THE WESTERN DISTRICT oF TENNESSEE *\.";i_;?;;ié:~ eo
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BoBBY R. BAKER, § ‘<_.';;@
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Plaintiff, §
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vs. § No. 04-1289_T/An
l
WARDEN PARKER, et al., §
l
Defendants. §
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ORDER ASSESSING FILING FEE
ORDER OF DISMISSAL
AND
ORDER CERTIFYING APPEAL NOT TAKEN IN GOOD FAITH

 

PlaintiffBobby R. Baker, an inmate at the Northwest Correctional Complex (`NWCX),
in Tiptonville, Tennessee, filed this complaint under 42 U.S.C. § 1983. The Clerk of Court
shall record the defendants as Warden Parker, Captain Smith, Lieutenant Jones, Sergeant
Ferrell, Oft'lcer Babb, Sergeant Srnith, Officer Spence, Officer Smith, Nurse Attaway, and
Samantha Phillips.

I. Assessment of Filing Fee

Under the Prison Litigation Reform Act of 1995 (PLRA), 28 U.S.C. § 1915(b), all

prisoners bringing a civil action must pay the full filing fee of $150 required by 28 U.S.C. §

1914(a). The i_r_l_ forma pauperis statute, 28 U.S.C. § 1915(a), merely provides the prisoner the

 

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opportunity to make a "downpayrnent" of a partial filing fee and pay the remainder in
installments

In this case, plaintiff has properly completed and submitted both an i_n f`o_rma M
affidavit and a prison trust fund account statement Pursuant to 28 U.S.C. § 1915(b)(l), it is
ORDERED that plaintiff cooperate fully with prison officials in carrying out this order. It is
further ORDERED that the trust fund officer at plaintiffs prison shall calculate a partial initial
filing fee equal to twenty percent of the greater of the average balance in or deposits to the
plaintiffs trust fund account for the six months immediately preceding the completion of the
affidavit When the account contains any funds, the trust fund officer shall collect them and
pay them directly to the Clerk of Court, If the funds in plaintiffs account are insufficient to
pay the full amount of the initial partial filing fee, the prison official is instructed to Withdraw
all of the funds in the plaintiffs account and forward them to the Clerk of Court, On each
occasion that funds are subsequently credited to plaintiffs account the prison official shall
immediately withdraw those funds and forward them to the Clerk of Court, until the initial
partial filing fee is paid in full.

lt is further ORDERED that after the initial partial filing fee is fully paid, the trust fund
officer shall withdraw from the plaintiffs account and pay to the Clerk of this Court monthly
payments equal to twenty percent (20%) of all deposits credited to plaintiffs account during
the preceding month, but only When the amount in the account exceeds $10.00, until the entire

5150.00 filing fee is paid.

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Each time that the trust fund officer makes a payment to the Court as required by this
order, he shall print a copy of the prisoner's account statement showing all activity in the
account since the last payment under this order, and file it with the Clerk along with the
payment

All payments and account statements shall be sent to:

Clerk, United States District Court, Westem District of Tennessee, 262 Federal
Building, 111 S. Highland, Jackson, TN 38301

and shall clearly identify plaintiffs name and the case number on the first page of this order.

If plaintiff is transferred to a different prison or released, he is ORDERED to notify the
Court immediately of his change of address If still confined he shall provide the officials at
the new prison with a copy of this order.

If the plaintiff fails to abide by these or any other requirement of this order, the Court
may impose appropriate sanctions, including a monetary fine, without any additional notice
or hearing by the Court.

The Clerk shall mail a copy of this order to the prison official in charge of prison trust
fund accounts at plaintiffs prison.

The obligation to pay this filing fee shall continue despite the immediate dismissal of
this case. 28 U.S.C. § 1915(e)(2). The Clerk shall not issue process or serve any papers in

this case.

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Il. Analysis of Plaintiffs Claims

Plaintiff sues NWCX Warden Parker, Captain Smith, Lieutenant lones, Sergeant
Ferrell, Sergeant Smith, Correctional Officers Babb, Spence, and Smith, Nurse Attaway, and
Health Administrator Samantha Phillips. Baker alleges that NWCX has an inadequate
grievance procedure because his grievances are not picked up and processed on a daily basis.
He alleges that defendant Ferreli has shouted at him and pointed a finger at him. He alleges
that after he wrote Tennessee Department of Correction (TDOC) Commissioner White, he was
threatened with lockup by defendant Babb. He further alleges that defendant Babb has
pointed her finger at him and threatened him on other occasions. Baker alleges that he began
being mistreated after filing grievances on defendants Spence and Ferrell. He contends that
defendants Sergeant Smith and Officer Smith harass him on a daily basis.

Baker alleges that on October ll, 2004, he slipped and fell in water from a leaky
ceiling. He alleges that on Octcber 14, 2004, defendant Attaway gave him another inmate’s
blood pressure medication instead of his prescribed ibuprofen. Baker states that the
medication caused him to become dizzy and he requested medical attention He alleges that
defendant Attaway took his blood pressure Baker alleges that he requested medical attention
again, however, the clinic refused to see him and advised him that the doctor had been notified
and had replied that the medication would not hurt him.

Baker alleges that NWCX has leaky ceilings, deteriorating doors, and poor lighting.
He contends that the use of the cell door hole to pass food, as well as cleaning supplies,

constitutes cruel and unusual punishment Baker includes other general and conclusory

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allegations of purportedly unconstitutional conditions but fails to allege how those conditions
have harmed or injured him.l

The complaint contains Baker’s allegations that he “filed several grievances” and
“cannot get an adequate response.” Baker filed this complaint on November l, 2004, On
December 30, 2004, he submitted “Exhibits” to the Clerk consisting of several grievances
Grievance No. 20551, dated September 29, 2004, contends Baker was denied access to the law
library. In a response dated October l, 2004, Baker was advised of the library hours and
alternative ways to request and receive legal documents and supplies On October 6, 2004,
Baker indicated that he did not want to appeal the response.

Grievance No. 205 84, dated October 12, 2004, consists of plaintiff’s complaints arising
from his fall on October ll, 2004, due to water from a leaky ceiling. The response dated
October 15, 2004, states the roof was fixed on September 17, 2004, and more rubber was
ordered for further repairs. The grievance form indicates that plaintiff first sought to appeal
the response, however, reconsidered and withdrew his appeal on October 21 , 2004.

Baker filed Grievance No. 20629 on October 13, 2004, complaining that the

temperature of the water in the showers was too cold. The response dated November l, 2004,

 

1 Baker cannot assert any claims under § 1983 against any defendant based on his witnessing alleged

violations of the constitutional rights of other inmates. Coon v. Ledbetter, 780 F.2d 1158, 1160-61 (5th Cir. 1986);
Rogers v. Gilless, No. 95-2220-M1/Bre (W.D. Tenn. Apr. 28, 1995) (following Coon in dismissing claims by jail
detainee as frivolous). § Jaco v. Bloechle, 739 F.2d 239, 241 (6th Cir. l984)(holding § 1983 cause of action is
personal to the injured party); K.t'um v. Sheppard, 255 F. Supp. 994, 997 (W.D. Mich. 1966)(holding only an injured
party has standing to sue). Baker cannot assert any violations of other inmates’ rights. Eurthermore, under 42 U.S.C.
§ 1997e(e), "[n]o Federal civil action may be brought by a prisoner confined in a jail, prison, or other correctional
facility, for mental or emotional injury suffered while in custody without a prior showing of physical injury." Baker’s
generalized allegations will not be further addressed

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states that the temperature was checked on November l, 2004, and determined to be 110
degrees, a temperature Within the acceptable range of TDOC policy. On November 5, 2004,
Baker indicated that he did not wish to appeal the response

On October 8, 2004, Baker filed Grievance No. 20574, contending that defendants
Captain Smith, Lieutenant Jones, Sergeant Smith, and Officer Spence were harassing black
inmates on a daily basis by threatening them with lockup and denying access to the courts
His grievance Was denied as inappropriate because it was vague and nonspecific, contained
multiple issues, and failed to make specific allegations against staff. Baker’s appeal was
denied by the Assistant TDOC Commissioner on November 1, 2004. Baker attached three
additional grievances, dated November 12, November 14, and November 18, 2004, which
were not processed due to Baker’s abuse of the grievance procedure

The Sixth Circuit has held that 42 U.S.C. § 1997e(a) requires a federal court to dismiss
without prejudice whenever aprisoner brings a prison conditions claim without demonstrating
that he has exhausted his administrative remedies Brown v. Toombs, 139 F.3d 1 102 (6th Cir.
1998); Lavista v. Beeler, 195 F.3d 254 (6th Cir. 1999) (exhaustion requirement applies to
claim alleging denial of medical care). This requirement places an affirmative burden on
prisoners of pleading particular facts demonstrating the complete exhaustion of claims
Knuckles El v. Toombs, 215 F.3d 640, 642 (6th Cir. 2000).

In order to comply with the mandates of 42 U.S.C. § 1997e(a),

a prisoner must plead his claims with specificity and show that they have been
exhausted by attaching a copy of the applicable administrative dispositions to

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the complaint or, in the absence of written documentation, describe with
specificity the administrative proceeding and its outcome.

 

Knuckles El, 215 F.3d at 642; see also Baxter v. Rose, 305 F.3d 486 (6th Cir. 2002)(pn`soner
who fails to adequately allege exhaustion may not amend his complaint to avoid a sua sponte
dismissal); Cur_ry v. Scott, 249 F.3d 493, 503-04 (6th Cir. 2001)(no abuse of discretion for
district court to dismiss for failure to exhaust when plaintiffs did not submit documents
showing complete exhaustion of their claims or otherwise demonstrate exhaustion).
Furthermore, § 1997(e) requires the prisoner to exhaust his administrative remedies prior to
filing suit and, therefore, he cannot exhaust these remedies during the pendency of the action.
Freeman v. Francis, 196 F.3d 641, 645 (6th Cir. 1999).

This complaint is fully within the scope of § 1997e. Plaintiff’s complaint presents
multiple issues and his allegations are insufficient to demonstrate that he has properly
exhausted his administrative remedies on any claim presented in his complaint2 Plaintiff
appealed only one grievance, No. 20574, to the Commissioner; however, he did not relate the
disposition of that appeal in his complaint filed on November 1 , 2004. The Commissioner did
not rule on the appeal until November l , 2004. Baker may not amend his complaint to include

the exhibits submitted December 30, 2004, to avoid dismissal to avoid a sua sponte dismissal.

 

2 An inmate can exhaust administrative remedies in two ways He might file the grievance and then appeal

it through all administrative levels made available by the particular institution or government agency. Alternatively, he
might attempt in good faith to follow the procedure and demonstrate that the institution or agency has completely frustrated
the procedure and rendered further exhaustion efforts futile.

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M, 305 F.3d at 489. Furthermore, Baker did not fully exhaust his administrative remedies
on any other issue presented in this complaint.3

The Sixth Circuit has held that "[a] plaintiff who fails to allege exhaustion of
administrative remedies through 'particularized avermentst does not state a claim on which
relief may be granted, and his complaint must be dismissed sua sponte.“ when 305 F.3d at
489. As plaintiff has not exhausted his administrative remedies, the Court dismisses this
complaint under 42 U.S.C. § l997e(a).

lll. Appeal lssues

The next issue to be addressed is whether plaintiff should be allowed to appeal this
decision ih m M. Twenty-eight U.S.C. § l915(a)(3) provides that an appeal may
not be taken i_n m M if the trial court certifies in writing that it is not taken in good
faith. The good faith standard is an objective one. Cop_pedge v. United States, 369 U.S. 438,
445 (1962).

Under Brown v. Toombs an appellate court must dismiss a complaint if a prisoner has
failed to comply with 1997e's exhaustion requirements Accordingly, if a district court
determines that a complaint must be dismissed as unexhausted, plaintiff would not yet be able
to present an issue in good faith on appeal because that appeal would also be subject to

immediate dismissal Thus, the same considerations that lead the Court to dismiss this case

 

3 District courts are not “required to cull out and address exhausted claims in a ‘rnixed’ civil rights

complaint." Borner v. Hakola, 84 Fed. Appx. 585, 587 (6th Cir. Dec. 12, 2003); see also Smith v. Hoffman, 75 Fed.
Appx. 397, 398 (6th Cir. Sept. 9, 2003); Shorter v. Campbell, 59 Fed. Appx. 673, 674-75 (6th Cir. Feb_ 20, 2003);
Julian-Bey v. Crowley, 24 Fed. Appx. 393, 395 (6th Cir. Dec. 3, 2001).

 

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for failure to exhaust administrative remedies compel the conclusion that an appeal would be
subject to immediate dismissal.
It is therefore CERTIFIED, pursuant to 28 U.S.C. § l 915(a)(3), that any appeal in this

matter by plaintiff is not taken in good faith, and plaintiff may not proceed on appeal i_n fortna

 

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The final matter to be addressed is the assessment of a filing fee if` plaintiff appeals the
dismissal of this case. The United States Court oprpeals for the Sixth Circuit has held that
a certification that an appeal is not taken in good faith does not affect an indigent prisoner
plaintiffs ability to take advantage of the installment procedures contained in § l915(b).

McGore v. Wrigglesworth, 114 F.3d 601, 610-11 (6th Cir. 1997). McGore sets out specific

 

procedures for implementing the PLRA. Therefore, the plaintiff is instructed that if he wishes

to take advantage of the installment procedures for paying the appellate filing fee, he must

 

comply with the procedures set out in McGore and § l915(b).

/é/

day of May, 2005.

OWML.MJ;

JAMES D. TODD
UNITE STATES DISTRICT JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 9 in
case l:04-CV-01289 Was distributed by fax, mail, or direct printing on
May 26, 2005 to the parties listed.

 

 

Bobby Baker

Riverbend Maximum Security Facility
# l 133 54

7475 Cockrill Bend Blvd.

Nashville, TN 37243--047

Honorable .l ames Todd
US DISTRICT COURT

